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                  UNITED STATES COURT OF INTERNATIONAL TRADE
                              NEW YORK, NEW YORK


 HOSHINE SILICON (JIA XING) INDUSTRY CO.,
 LTD.,
                Plaintiff,

                           v.
                                                              Court No. 24-00048
 UNITED STATES OF AMERICA; DEPARTMENT
 OF HOMELAND SECURITY; UNITED STATES                         NONCONFIDENTIAL VERSION
 CUSTOMS AND BORDER PROTECTION;
 ALEJANDRO N. MAYORKAS, in his official
 capacity as the Secretary of the Department of
 Homeland Security; and TROY A. MILLER, in his
 official capacity as the Senior Official Performing the
 Duties of the Commissioner for U.S. Customs and
 Border Protection,
                        Defendants.


                                          COMPLAINT

       Hoshine Silicon (Jia Xing) Industry Co., Ltd. (unless otherwise indicated, “Plaintiff” or

“Jiaxing Hoshine”), by and through counsel, brings this Complaint against Defendant United

States of America, Defendant U.S. Department of Homeland Security (“DHS”), Defendant U.S.

Customs and Border Protection (“CBP”), Defendant Alejandro N. Mayorkas, in his official

capacity as Secretary of the Department of Homeland Security, and Defendant Troy A. Miller, in

his official capacity as the Senior Official Performing the Duties of the Commissioner for U.S.

Customs and Border Protection (collectively, “Defendants”), and alleges as follows:

                                SUMMARY OF THE ACTION

       1.      This action contests the decisions made by the Defendants to take certain adverse

actions against Plaintiff, as further specified and described below, under the purported authority

of Section 307 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1307 (“Section 307”) and related




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implementing regulations. These adverse actions have resulted in significant harm to Plaintiff,

including economic, contractual, market-related, reputational, and other serious damages, all

without a satisfactory evidentiary basis, legal authority, or explanation. Defendants’ conduct

violates the Administrative Procedures Act’s requirement for reasoned decision-making, is not

supported by evidence, and is contrary to law, necessitating intervention to set aside these actions.

       2.      Section 307 prohibits the importation of any product manufactured wholly or

partially by use of forced labor, including forced or indentured labor. CBP enforces this provision,

in part, through the issuance of Withhold Release Orders (“WROs”) and findings, preventing the

importation of goods produced using forced labor in foreign countries. 19 C.F.R. § 12.42, et seq.

       3.      In June 2021, CBP issued a WRO on silica-based products made by “Hoshine

Silicon Industry Co., Ltd. and its subsidiaries.” U.S. Customs and Border Protection, Withhold

Release Orders and Findings List, https://www.cbp.gov/trade/forced-labor/withhold-release-

orders-and-findings (last accessed on February 15, 2024) (the “WRO Listing Decision”). The

WRO Listing Decision also applies to materials and final goods derived from or produced using

those silica-based products, regardless of where the materials and final goods are produced. CBP,

Hoshine Silicon Industry Co. Ltd Withhold Release Order Frequently Asked Questions,

https://www.cbp.gov/trade/programs-administration/forced-labor/hoshine-silicon-industry-co-

ltd-withhold-release-order-frequently-asked-questions (last accessed on February 15, 2024).

       4.      The WRO Listing Decision, which was issued without prior notice to Plaintiff, has

resulted in significant and irreparable damage to Plaintiff’s business and reputation. Yet to date,

CBP has not provided Plaintiff with basic information relating to its listing decision, let alone

reports or data demonstrating the factual basis substantiating the grounds for the agency’s action.

CBP’s June 24, 2021 press release announcing the WRO states that Hoshine Silicon Industry Co.,




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Ltd.—the parent company of Plaintiff—is “a company located in China’s Xinjiang Uyghur

Autonomous Region.” CBP Press Release, The Department of Homeland Security Issues Withhold

Release     Order   on   Silica-Based    Products    Made    by   Forced    Labor    in   Xinjiang,

https://www.cbp.gov/newsroom/national-media-release/department-homeland-security-issues-

withhold-release-order-silica (last accessed on February 15, 2024). This statement is factually

incorrect—both Plaintiff and its parent company are located in Zhejiang Province, which is

thousands of miles away from Xinjiang.

       5.      On September 20, 2021, Plaintiff’s external international trade counsel met by

phone with several CBP officers (including from the Office of Trade’s Operation and Forced Labor

Divisions) to discuss the WRO Listing Decision. During this teleconference, Plaintiff contested

CBP’s forced labor allegations and requested that CBP lift the WRO. Plaintiff’s external counsel

also sought clarification and guidance from CBP on two key issues – (1) the procedural steps

involved in making a WRO removal/modification request, and (2) the evidence identified by CBP

that led to its conclusion that Hoshine Silicon Industry Co., Ltd. and its subsidiaries have used

forced labor in the manufacture of silica-based products. CBP declined to disclose any additional

evidence or reasons for the WRO Listing Decision. During the meeting, the participating CBP

officers described a WRO removal/modification procedure and indicated that unannounced, third-

party audits of labor practices would be considered compelling evidence supporting an entity’s

removal from a WRO.

       6.      Acting on CBP’s recommendation, Jiaxing Hoshine promptly engaged a third-party

consultant to enhance an anti-forced labor policy and procedure. Jiaxing Hoshine also enlisted the

services of a reputable third-party auditor to assess its production facilities and labor practices.




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Additionally, significant time and financial resources were invested in gathering and translating

the documentation related to Jiaxing Hoshine’s supply chain tracing.

          7.    On October 11, 2022, Jiaxing Hoshine’s external international trade counsel held

another teleconference with CBP’s Forced Labor Division. In this meeting, Plaintiff presented

evidence and documentation supporting its WRO Removal Application and sought CBP’s

feedback on the application. During the meeting, CBP officials expressed general agreement with

the approach Plaintiff was undertaking to address and rectify the concerns related to forced labor

allegations.

          8.    On September 12, 2023, following the specific guidance provided by CBP, Jiaxing

Hoshine submitted a complete petition (the “Modification Petition”) to CBP seeking to modify the

Hoshine WRO. See Exhibit 1, Cover Letter of Modification Petition. The Modification Petition

asked, at minimum, that Jiaxing Hoshine be removed from the WRO Listing. The Modification

Petition also asked CBP to exclude from the WRO a specific and narrowly defined supply chain

for products made by Jiaxing Hoshine—the identified supply chain is located entirely outside of

Xinjiang and involves no use of forced labor.

          9.    On November 3, 2023, CBP summarily denied the Modification Petition. Letter

from CBP Forced Labor Division to Hogan Lovells US LLP (Nov. 3, 2023) (the “Denial Letter”).

The Denial Letter asserts that “modification of a WRO for only one specific supply chain would

undermine the general principle upon which CBP bases its forced labor enforcement efforts, which

is that companies subject to a WRO are to demonstrate full remediation of all forced labor

indicators present at all of company locations subject to the WRO.” See Exhibit 2, the Denial

Letter.




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       10.     According to CBP guidance, in seeking to modify the scope of an existing WRO, a

party subject to the WRO must demonstrate to CBP that it has rectified all eleven International

Labour Organization (“ILO”) indicia of forced labor. If this requirement has been met, CBP

indicates in its guidance that it will suspend the enforcement of the WRO against the specific party.

CBP, How are WRO and/or finding modifications and revocations processed (Oct. 2021),

https://www.cbp.gov/sites/default/files/assets/documents/2021-Oct/Slicksheet_Forced%20Labor

%20How%20are%20WRO%20Finding%20Modifications%20or%20Revocations%20Processed

%20508%20Compliant_0.pdf (last accessed on Feb. 18, 2024). The Denial Letter did not address

whether Jiaxing Hoshine had met this requirement. CBP claims that a regulated entity must

remediate “all of company locations subject to the WRO” in order to merit a modification, and on

that basis alone rejected the Modification Petition. There is no legal basis to deny the Modification

Petition on such ground.

       11.     Consistent with the foregoing, CBP has acted unlawfully with respect to Jiaxing

Hoshine in at least two ways. First, CBP has failed to provide any evidentiary basis for its decision

to include Jiaxing Hoshine within the scope of the WRO Listing. Second, CBP has no legal basis

for its decision to reject the Modification Petition and, at minimum, its refusal to exclude Jiaxing

Hoshine from the WRO. Despite repeated attempts by Jiaxing Hoshine’s representatives to obtain

additional information regarding the basis for the WRO Listing Decision and the Denial Letter,

CBP has refused to provide any further basis for its decisions.

       12.     For all of these reasons, CBP has acted in a manner that is both contrary to law and

arbitrary and capricious. This Court should require CBP to produce the administrative record with

respect to these decisions and should further vacate CBP’s determinations to (a) add Plaintiff to




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the WRO List, and (b) deny review of Plaintiff’s WRO Modification Petition, including

specifically its decision not to exclude Jiaxing Hoshine from the WRO.


                                           PARTIES

       13.     Jiaxing Hoshine is a wholly owned subsidiary of Hoshine Silicon Industry Co., Ltd.

and is organized and exists under the laws of the People’s Republic of China. Jiaxing Hoshine is

located at No. 530, Yashan West Road, Zhapu Town, Pinghu City, Zhejiang Province, China. The

principal products made by Jiaxing Hoshine include silicone, silicone gum, precipitated silicone

rubber, fumed silicone rubber, siloxane, and room temperature vulcanized silicone rubber. Jiaxing

Hoshine’s entire supply chain is located outside of Xinjiang Province.

       14.     Defendant the Department of Homeland Security is a federal agency headquartered

in the District of Columbia with its principal office located at 245 Murray Lane S.W., Washington,

D.C. 20528. Among its duties, DHS leads CBP.

       15.     Defendant U.S. Customs and Border Protection is a federal agency headquartered

in the District of Columbia with its principal office located at 1300 Pennsylvania Avenue, N.W.,

Washington, D.C. 20229. CBP is an agency within DHS. Among its duties, CBP enforces federal

laws regulating the importation of goods into the United States.

       16.     Defendant Secretary Alejandro N. Mayorkas is sued solely in his official capacity

as Secretary of DHS. In that capacity, Secretary Mayorkas has the ultimate responsibility for the

activities of DHS and CBP, including the actions complained of herein. Secretary Mayorkas

maintains an office at 245 Murray Lane S.W., Washington, D.C. 20528.

       17.     Defendant Troy A. Miller is sued solely in his official capacity as the Senior

Official Performing the Duties of the Commissioner for CBP. In that capacity, Mr. Miller is




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responsible for the activities of CBP, including the actions complained of herein. Mr. Miller

maintains an office at 1300 Pennsylvania Avenue, N.W., Washington, D.C. 20229.

       18.        The United States of America is amenable to service through the Attorney-in-

Charge, International Trade Field Office, Commercial Litigation Branch, Department of Justice.

C.I.T. R. 4(h).

                                   JURISDICTION AND VENUE

       19.        This Court has jurisdiction under 28 U.S.C. § 1581(i).

       20.        Section 1581(i)(1), (C) provides:

                  {T}he Court of International Trade shall have exclusive jurisdiction
                  of any civil action commenced against the United States, its
                  agencies, or its officers, that arises out of any law of the United
                  States providing for— . . .

                  (C) embargoes or other quantitative restrictions on the importation
                  of merchandise for reasons other than the protection of the public
                  health or safety; . . .

       21.        This action arises under the Administrative Procedure Act (“APA”), 5 U.S.C.

§§ 702-706, and 19 U.S.C. § 1307. The APA provides that “{a} person suffering legal wrong

because of agency action, or adversely affected or aggrieved by agency action within the meaning

of a relevant statute, is entitled to judicial review thereof.” See 5 U.S.C. § 702.

       22.        CBP’s WRO Listing Decision added Plaintiff to the WRO List without adequate

evidentiary basis and without providing any reasoned justification or disclosing any supporting

evidence, and thus constitutes arbitrary and capricious agency action in violation of the APA. 5

U.S.C. § 706.

       23.        CBP’s Denial Letter with respect to the Modification Petition entirely failed to

address the evidence submitted by Jiaxing Hoshine demonstrating that its supply chain is located

entirely outside of Xinjiang Province and is entirely free of forced labor. The Denial Letter also


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failed to provide a rational justification or valid legal authority for CBP’s decision to deny the

Modification Petition. Accordingly, the Denial Letter is unlawful and arbitrary and capricious in

violation of the APA. Id.

       24.     CBP’s actions have directly caused Jiaxing Hoshine concrete and imminent harm

that is redressable by this Court. Jiaxing Hoshine thus has standing to bring this suit.

                                   STATEMENT OF FACTS

Legal Background

       25.     Since the enactment of the Tariff Act of 1930, Pub. L. No. 71-361, 46 Stat. 590,

federal law has prohibited importation of any goods or merchandise produced wholly or in part in

any foreign country by forced labor. 19 U.S.C. § 1307.

       26.     Enforcement of 19 U.S.C. § 1307 is made, inter alia, through issuance of WROs.

Any individual who has “reason to believe that any class of merchandise that is being, or is likely

to be, imported into the United States” is being produced by forced labor may communicate that

belief to CBP. Port directors and other principal customs officers must report such instances to

the CBP Commissioner. Persons outside of CBP may also submit allegations online. Upon

receipt, the CBP Commissioner is required to initiate an investigation “as appears warranted” by

the amount and reliability of the submitted information. If the Commissioner finds the information

“reasonably but not conclusively indicates” that imports may be the product of forced labor, then

she or he is to issue an order to withhold release of such goods pending further instructions.

19 CFR § 12.42.

       27.     A WRO allows CBP to detain the products in question at all U.S. ports of entry

until/unless importers can prove the absence of forced labor in their products’ supply chain. See

U.S. Customs and Border Protection, Withhold Release Orders and Findings List,




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https://www.cbp.gov/trade/forced-labor/withhold-release-orders-and-findings (last accessed on

February 15 , 2024).

       28.     WRO modification or revocation requests may be submitted to CBP. The evidence

must show the subject merchandise was not produced, manufactured, or mined in whole or in part

using forced labor, and is no longer being produced with forced labor. After issuance of WRO

modification, CBP will suspend enforcement of a WRO once it “determines the foreign entity

subject to the WRO has remediated all indicators of forced labor.” After issuance of WRO

revocation, CBP will “remove a foreign entity from the scope of the WRO once it has determined

it was not engaged in forced labor.” CBP, How are WRO and/or finding modifications and

revocations                     processed                       (Oct.                     2021),

https://www.cbp.gov/sites/default/files/assets/documents/2021-Oct/Slicksheet_Forced%20Labor

%20How%20are%20WRO%20Finding%20Modifications%20or%20Revocations%20Processed

%20508%20Compliant_0.pdf (last accessed on Feb. 18, 2024).

Plaintiff’s Business

       29.     Jiaxing Hoshine is a wholly-owned manufacturing subsidiary of Hoshine Silicon

Industry Co., Ltd., and is located in Zhejiang Province, China. Jiaxing Hoshine’s entire supply

chain is located outside of Xinjiang. The principal products produced by Jiaxing Hoshine include

silicone gum, precipitated silicone rubber, fumed silicone rubber, siloxane, and room temperature

vulcanized silicone rubber.

       30.     Before issuance of the WRO in June 2021, the production facility of Jiaxing

Hoshine in Zhejiang Province exported silica-based products to the United States. Its customers

in the United States included companies from chemical, construction, textile, and automotive

industries.




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       31.     Prior to June 2021, CBP had never suggested that any of Plaintiff’s products

violated 19 U.S.C. § 1307. Plaintiff therefore has never had difficulties demonstrating to CBP that

its products could lawfully be imported into the United States.

The WRO Listing Decision and WRO Modification Request

       32.     In June 2021, CBP identified and added “Hoshine Silicon Industry Co. Ltd. and its

subsidiaries” to the forced labor Withhold and Release Order List. This action was publicly

announced in a June 24, 2021 CBP press release, which identified Plaintiff’s parent Hoshine

Silicon Industry Co. Ltd. as “a company located in China’s Xinjiang Uyghur Autonomous

Region.” The press release also stated: “The Withhold Release Order instructs personnel at all

U.S. ports of entry to immediately begin to detain shipments containing silica-based products made

by Hoshine and its subsidiaries.” Without providing any details about the basis for its decision,

CBP vaguely identified two of the International Labour Organization’s indicators of forced labor

in Hoshine’s production process: intimidation and threats, and restriction of movement. CBP, The

Department of Homeland Security Issues Withhold Release Order on Silica-Based Products Made

by Forced Labor in Xinjiang (June 24, 2021), https://www.cbp.gov/newsroom/national-media-

release/department-homeland-security-issues-withhold-release-order-silica (last accessed on

February 15, 2024).

       33.     CBP’s statement that Hoshine Silicon Industry Co. Ltd. is “a company located in

China’s Xinjiang Uyghur Autonomous Region” is factually wrong. Hoshine Silicon Industry Co.,

Ltd. is instead located in Zhejiang Province, which is thousands of miles away from Xinjiang.

Similarly, Plaintiff Jiaxing Hoshine is also located in Zhejiang Province, far from Xinjaing.

       34.     The WRO Listing Decision and Press Release comprise the only notice or

explanation Plaintiff has received concerning CBP’s actions or the evidence underlying that action.

CBP has not provided further explanation or disclosed any supporting evidence to Plaintiff,


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publicly or otherwise, regarding its decision to add Hoshine Silicon Industry Co., Ltd., and its

subsidiaries to the WRO List.

       35.     CBP failed to give notice to Plaintiff that it would be placed on the WRO list. CBP

never conducted any public hearing, reported investigation, or adjudication regarding Plaintiff and

its labor practices prior to the WRO Listing Decision. CBP also never contacted Plaintiff prior to

the announcement of the WRO Listing Decision. Neither Plaintiff nor its parent Hoshine Silicon

Industry Co., Ltd. has ever been afforded an opportunity to confront and address the specific

factual evidence underlying CBP’s decision to issue the WRO.

       36.     On September 20, 2021, Jiaxing Hoshine’s external counsel met with several CBP

officials to communicate the company’s willingness to cooperate with CBP’s inquiries. Plaintiff

also contested the validity of any forced labor allegations and requested CBP to lift the WRO. In

the meeting, Plaintiff’s external counsel also sought clarification of two key issues – (1) the

procedural steps involved in a WRO removal and modification request, and (2) specific errors

identified in and related to the supporting evidence relied on by CBP in promulgating the WRO

Listing Decision. The CBP officials participating in this meeting declined to provide any further

explanation or evidentiary basis for the WRO Listing Decision.           CBP did offer specific

recommendations to Plaintiff if the company decided to submit a WRO removal/modification

request, communicating that unannounced third-party audits would be considered compelling

evidence supporting a removal/modification.

       37.     Following CBP's recommendation, Plaintiff acted promptly by engaging a third-

party consultant to enhance a company-wide anti-forced labor policy and procedure. Moreover,

Plaintiff hired a reputable third-party auditor to assess its production facility. Additionally,

significant time and financial resources were invested in gathering and translating documentation




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related to its supply chain tracing. This comprehensive process aimed at addressing the allegations

raised by CBP.

       38.     On October 11, 2022, Plaintiff’s counsel held another teleconference with CBP.

Plaintiff’s external counsel presented the evidentiary documentation gathered to support a WRO

modification application and sought CBP’s feedback and guidance on the appropriateness of that

pathway. The participating CBP officers expressed agreement with the general approach identified

by Plaintiff to address and rectify CBP’s concerns related to forced labor allegations, including the

planned modification petition.

       39.     On September 12, 2023, in accordance with CBP guidelines, Plaintiff submitted a

petition for modification of the WRO to remove Jiaxing Hoshine’s supply chain for silicone

products from the Hoshine WRO. The Modification Petition is over 10,000 pages long, includes

over 1,400 documentary exhibits, and provides clear, accurate, complete, and irrefutable evidence

that all silica-based products and materials used to produce these products in Plaintiff Jiaxing

Hoshine’s supply chain are made outside of Xinjiang Province and do not include materials

produced using forced labor. On this basis, Jiaxing Hoshine sought approval for the modification

of the Hoshine WRO to exclude silicone products produced by Jiaxing Hoshine in its production

facility located in Jiaxing City, Zhejiang Province, China.

       40.     On November 3, 2023, the WRO modification petition was summarily denied by

CBP. There is no indication from the Denial Letter that CBP ever reviewed and evaluated the

evidence submitted by Jiaxing Hoshine in support of the Modification Petition. Nor did CBP

provide any explanation whether the Modification Petition sufficiently documented that the facility

in question and associated supply chain was free of forced labor. Rather, the Denial Letter solely

asserted, without citing reference or authority, as follows:




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                             NONCONFIDENTIAL VERSION
                 CONFIDENTIAL INFORMATION DELETED FROM BRACKETS


                 {The} modification of a WRO for only one specific supply chain
                 would undermine the general principle upon which CBP bases its
                 forced labor enforcement efforts, which is that companies subject to
                 a WRO are to demonstrate full remediation of all forced labor
                 indicators present at all of company locations subject to the WRO.

No statute, regulation, or written policy is referenced in CBP’s denial letter to support its decision

to deny the Modification Petition, and no legal support exists. CBP’s decision is unsupported by

law and is both arbitrary and capricious.

        41.      Because Defendants have refused to disclose the grounds for the charge or the

contents of the record, Plaintiff is unable to fully evaluate the other ways in which the agency’s

conduct is unlawful. Upon receipt of the administrative record, Plaintiff intends to seek additional

relief to the extent appropriate.

Injuries Caused by the WRO Listing Decision and Denial of WRO Petition

        42.      Plaintiff Jiaxing Hoshine is harmed by the agency actions described above. By

virtue of the listing, Jiaxing Hoshine’s goods are automatically presumed to have been

manufactured using forced labor and, therefore, cannot be imported into the United States directly

or indirectly.

        43.      The WRO Listing Decision has seriously harmed Jiaxing Hoshine’s reputation with

its business partners and customers. As a direct result of the Listing Decision, Plaintiff has been

the subject of disparaging accusations and damaging rumors. [




                   ]

        44.      The cumulative effect of these challenges underscores the far-reaching

consequences of the WRO Listing Decision on Jiaxing Hoshine's business operations and financial

standing.


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       45.     Lastly, following the specific guidance provided by CBP, Jiaxing Hoshine

submitted a Modification Petition to CBP seeking to modify the Hoshine WRO. Plaintiff’s efforts

to seek relief have been rejected by CBP and Plaintiff’s goods are today completely barred from

the United States..

                                      CLAIM FOR RELIEF

                                           COUNT ONE

                           5 U.S.C. § 706 ISSUANCE OF THE WRO

       46.     Plaintiff hereby incorporates by reference paragraphs 1 through 45 of this

Complaint.

       47.     Plaintiff is adversely affected and aggrieved by CBP’s unlawful decision to issue

the WRO on Hoshine Silicon Co., Ltd., and its subsidiaries, including Jiaxing Hoshine, without

adequate evidentiary or legal basis. CBP’s decision has adversely impacted Plaintiff’s ability to

sell and ship goods directly or indirectly to their U.S.-based customers. See 5 U.S.C. § 702.

       48.     The WRO Listing Decision constitutes “final agency action,” 5 U.S.C. § 704,

because it “mark{s} the consummation of the agency’s decisionmaking process” and “the action

{is} one by which rights or obligations have been determined, or from which legal consequences

will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (internal quotation marks omitted).

       49.     The APA requires courts to hold unlawful and set aside agency action, findings,

and conclusions that are “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law {.}” 5 U.S.C. § 706(2)(A). “The requirement that agency action not be

arbitrary or capricious includes a requirement that the agency adequately explain its result.” Pub.

Citizen, Inc. v. FAA, 988 F.2d 186, 197 (D.C. Cir. 1993); see also Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983) (explaining that an agency acts

unlawfully when it fails to “articulate a satisfactory explanation for its action.”).


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       50.     CBP’s decision to add Plaintiff to the WRO List is unlawful because that

determination lacks evidentiary support and because CBP failed to provide an adequate

explanation for placing Plaintiff on the WRO List and failed to identify or disclose any evidentiary

basis for its decision. Aqua Prods., Inc. v. Matal, 872 F.3d 1290, 1325 (Fed. Cir. 2017) (“{An}

agency must explain why it decides any question the way it does. That obligation means that the

agency must ‘articulate a satisfactory explanation’ of its reasoning; it may not simply provide a

conclusion.” (citations omitted)).


                                          COUNT TWO

              5 U.S.C. § 706 DENIAL OF WRO MODIFICATION PETITION

       51.     Plaintiff hereby incorporates by reference paragraphs 1 through 50 of this

Complaint.

       52.     CBP’s unlawful denial of the WRO Modification Petition has adversely affected

Plaintiff, as CBP’s final decision effectively leaves it with no means to sell and ship goods either

directly or indirectly to their U.S. customers. See 5 U.S.C. § 702.

       53.     CBP’s Denial Letter constitutes final agency action, in accordance with 5 U.S.C.

§ 704, because it “mark{s} the consummation of the agency’s decisionmaking process” and “the

action {is} one by which rights or obligations have been determined, or from which legal

consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (internal quotation marks

omitted). Indeed, Plaintiff’s efforts to seek relief have been rebuffed by the agency and Plaintiff’s

goods are today completely barred from the United States.

       54.     The APA requires courts to hold unlawful and set aside agency action, findings,

and conclusions that are “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law{.}” 5 U.S.C. § 706(2)(A). “The requirement that agency action not be



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arbitrary or capricious includes a requirement that the agency adequately explain its result.” Pub.

Citizen, Inc. v. FAA, 988 F.2d 186, 197 (D.C. Cir. 1993); see also Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mut. Auto Ins.Co., 463 U.S. 29, 43 (1983) (explaining that an agency acts

unlawfully when it fails to “articulate a satisfactory explanation for its action.”).

       55.     CBP’s refusal to consider Plaintiff’s WRO Modification Petition and the summary

denial of that petition is unlawful because CBP failed to provide an adequate explanation for the

refusal to consider the Modification Petition and the grounds asserted in support for the denial are

not supported by law. Aqua Prods., Inc. v. Matal, 872 F.3d 1290, 1325 (Fed. Cir. 2017) (“{An}

agency must explain why it decides any question the way it does. That obligation means that the

agency must ‘articulate a satisfactory explanation’ of its reasoning; it may not simply provide a

conclusion.” (citations omitted)).

                                     PRAYERS FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court:

       (1)     Declare that Defendants have acted in an unlawful manner in violation of the APA

by unlawfully failing to provide a reasoned explanation for the WRO Listing Decision that is

supported by law and evidence and by failing to provide an opportunity for Plaintiff to confront

the evidence relied upon by the agency;

       (2)     Declare that Defendants have acted in an unlawful manner in violation of the APA

by unlawfully failing to consider Jiaxing Hoshine’s application for modification of the WRO, or

to provide a reasoned explanation for the denial of WRO Modification Petition;

       (3)     Vacate CBP’s determination to add Plaintiff to the WRO List;

       (4)     Vacate CBP’s determination to deny review of Plaintiff’s WRO Modification

Petition;




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          (5)   Award Plaintiff its attorneys’ fees, expert witness fees, and all other reasonable

expenses incurred in pursuit of this Action under 28 U.S.C. § 2412; and

          (6)   Grant Plaintiff such further and additional relief as this Court may deem just and

proper.

                                                     Respectfully submitted,

                                                     /s/ Craig A. Lewis
                                                     Craig A. Lewis
                                                     Jonathan T. Stoel
                                                     Kelly Zhang

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                                                     Counsel for Plaintiff
Date: February 20, 2024




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